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  Attorney for Defendants


                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA



  BROADCAST MUSIC, INC., A CORPORATION, ET.
  AL,                                                 3:06-CV-00374-ECR(RAM)
               Plaintiff,

         vs.                                               STIPULATION FOR
                                                        EXTENSION OF TIME TO
   PURE COUNTRY DANCEHALL & SALOON, INC.,              RESPOND TO MOTION FOR
   DBA PURE COUNTRY DANCEHALL & SALOON,                  SUMMARY JUDGMENT
   AND CATHI WOODS, AN INDIVIDUAL
                                                              (FIRST REQUEST)
               Defendants.




                                 STIPULATION

   COME NOW Plaintiffs and Defendants, by and through their respective undersigned

attorneys, and hereby stipulate that Defendants may have to and including May 25, 2007,

within which to file a response to Plaintiffs’ Motion for Summary Judgment filed herein.

                                  (Signature page follows.)

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                       Signature Page for Stipulation.




                                          Dated this 15th day of May, 2007.



                                                /s/ Michael J. Morrison
                                          Michael J. Morrison, Esq., SBN 1665
                                                Attorney for Defendants


                                          Dated this 15th day of May, 2007.



                                                 /s/ Michael Knox
                                          Michael Knox, Esq., SBN 4932
                                          Lionel Sawyer & Collins
                                          Attorneys for Plaintiffs


   IT IS SO ORDERED.

   Dated:
                                          U.S. MAGISTRATE JUDGE
